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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09 UNITED STATES OF AMERICA,              )             CASE NO.: CR03-069-RSL
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
12   AARON LASTSTAR,                      )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
13         Defendant.                     )
     ____________________________________ )
14

15          An evidentiary hearing on supervised release revocation in this case was scheduled before

16 me on January 4, 2006. The United States was represented by AUSA Susan M. Roe and the

17 defendant by Michael C. Nance. The proceedings were digitally recorded.

18          Defendant had been sentenced on or about June 20, 2003 by the Honorable Robert S.

19 Lasnik on a charge of Accessory After the Fact and sentenced to 21 Months Custody, 3 years

20 Supervised Release. (Dkt. 39).

21          The conditions of supervised release included requirements that defendant comply with all

22 local, state, and federal laws and with the standard conditions of supervision. Other special

23 conditions included no firearms, mandatory drug testing, narcotic addiction/drug dependency

24 treatment and testing, refrain from alcohol and other intoxicants, submit to search, provide access

25 to financial information, enroll and continue in a program of study for a GED, and cooperate in

26 the collection of DNA.


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          The conditions of supervision were modified on August 25, 2004 to require residence in

02 a community corrections center for up to 120 days. (Dkt. 47). On November 8, 2004, the

03 defendant admitted to violating the conditions of supervised release by failing to participate in the

04 community corrections center program for up to 120 days. (Dkt. 56). The condition was

05 reimposed and the defendant was required to enroll in the GED program within 30 days and to

06 continue in the program. (Dkt. 55). No further action was taken at the time. (Dkt. 56). On

07 March 22, 2005 the defendant admitted to a violation of the conditions of supervised release by

08 using and possessing marijuana. (Dkt. 65). A sentence of four months in custody was imposed.

09 (Dkt. 68).

10          In an application dated June 23, 2005, U.S. Probation Officer Steven R. Gregoryk alleged

11 the following violation of the conditions of supervised release:

12          1.      Failing to follow the instructions of the probation officer on January 20, 2005 in

13 violation of standard condition number 3.

14          2.      Failing to participate in a community corrections center (CCC) program for a

15 period of 90 days in violation of the special condition of supervision which requires the defendant

16 to reside in a CCC for up to 90 days.

17          Defendant was advised in full as to those charges and as to his constitutional rights.

18          Defendant admitted each of the alleged violations and waived any evidentiary hearing as

19 to whether they occurred.

20          I therefore recommend the Court find defendant violated his supervised release as alleged

21 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

22 set before Judge Lasnik.

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01        Pending a final determination by the Court, defendant has been detained.
02        DATED this 4th day of January, 2006.


                                               A
03

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                                               Mary Alice Theiler
05                                             United States Magistrate Judge

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07 cc:    District Judge:               Honorable Robert S. Lasnik
          AUSA:                         Susan M. Roe
08        Defendant’s attorney:         Michael C. Nancy
          Probation officer:            Steven R. Gregoryk
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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